                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                   Plaintiffs,                  Case No. 3:21-cv-00419

             v.                                 District Judge William L. Campbell Jr.

UNITED STATES OF AMERICA,                       Magistrate Judge Alistair E. Newbern

                   Defendant.




              MOTION TO MODIFY SCHEDULING ORDER AND
                   MOTION TO AMEND COMPLAINT



      Plaintiffs Joshua and Jessica Jarrett, by and through their undersigned

counsel, hereby move the Court to modify the scheduling order and for leave to

amend their Complaint. Specifically, the Jarretts move to amend their Complaint

to clarify that they seek injunctive and declaratory relief and to add supporting

factual allegations. A proposed First Amended Complaint is attached. The

government opposes this motion.

      To be clear, the Jarretts do not believe they need to amend their Complaint.

When they broached this topic with the government after the government filed its

motion to dismiss, the government agreed that amendment was unnecessary. See




   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 1 of 8 PageID #: 676
Opposition (Dkt. 51) at 4 n.1. But then the government, for the first time, made a

facial attack on the Jarretts’ complaint in its Reply filed one week ago. Reply (Dkt.

53), at 3. The Jarretts thus are filing this motion out of an abundance of caution.

         It remains well within the discretion of this Court to grant injunctive and

declaratory relief on the basis of the Jarretts’ originally filed Complaint. Further,

the government has not challenged the Jarretts’ arguments in Parts I and II of their

Opposition on the basis of their Complaint. However, because the government’s

reply now asserts a facial challenge to the Jarretts’ Complaint, justice requires that

the Jarretts be afforded the opportunity to amend.



                                   RELEVANT FACTS1

         In May 2021, the Jarretts filed the Complaint in this case. Dkt. 1 (Compl.).

In its prayer for relief, the Complaint asks for, in addition to “a judgment that the

disputed federal income taxes were erroneously assessed,” an “award of such other

and further relief as the Court deems just and proper.” Id., Prayer. The Jarretts

have not previously amended their Complaint.

         On December 21, 2021, one week after the Court’s deadline to amend

pleadings had passed,2 the government offered a refund to the Jarretts. See Forst

Decl. (Dkt. 51-2), Ex. A.




1   The facts of this case are discussed in detail in the Jarretts’ Opposition, at pp. 2-4.

2   The final date to amend pleadings per the Scheduling Order was December 15,
      2021. Dkt. 34.


                                       2
      Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 2 of 8 PageID #: 677
      On February 28, 2022, the government filed its motion to dismiss. See Mot.

to Dismiss (Dkt. 41). On March 1, 2022 the Jarretts consulted with the government

about a motion to amend their Complaint. In responding by email to the Jarretts’

counsel on March 2, 2022, the government stated “[t]here is no reason plaintiffs

need to amend the complaint . . . since this is not a facial challenge to subject

matter jurisdiction but a factual one.” The Jarretts agree with the government’s

analysis; the government’s motion is factual and therefore does not require

amendment of the Complaint. See Opposition at 4 n.1.

      Nevertheless, the government apparently changed its mind in its Reply filed

last week and put the Jarretts’ Complaint at issue for the first time, stating that

“the Jarretts have asked for neither injunctive nor declaratory relief in their

Complaint. So their suggestion that they could is irrelevant.” Reply, at 3.



                                    ARGUMENT

      The Jarretts have the right to obtain injunctive and forward-looking relief in

this lawsuit. But because the government now asserts that the Jarretts lack this

right at least in part because they did not specifically plead for injunctive and

forward-looking relief, the Jarretts now bring this motion.

      The Jarretts move both to amend the scheduling order and for leave to

amend their Complaint. For the reasons stated below, good cause exists to amend

the scheduling order, and justice requires that the Jarretts be afforded the

opportunity to amend.




                                    3
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 3 of 8 PageID #: 678
   I.       Good Cause Exists To Modify the Scheduling Order and Consider
            the Jarretts Motion To Amend.

         Under Fed. R. Civ. P. 16(b)(4), the Court’s “schedule may be modified only for

good cause and with the judge’s consent.” In determining whether good cause

exists, courts first consider the diligence of the party seeking the extension and also

consider whether the opposing party will suffer prejudice by virtue of the

amendment. See Inge v. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002) (citing

cases); see also Ott v. Publix Super Mkts., Inc., 298 F.R.D. 550, 558 (M.D. Tenn.

2014).

         Good cause exists here. First, the Jarretts have been diligent in seeking this

extension. The Jarretts bring this motion one week after the government filed its

reply brief where for the first time it brought a facial attack on the Jarretts’

Complaint. Before then, the government had told Jarretts’ counsel that there was

no reason for the Jarretts to amend their complaint. See Opposition, at 4 n.1.

         Nor will the government suffer prejudice if the Jarretts have an opportunity

to amend. It was the government who has brought the sufficiency of the Jarretts’

complaint into issue in its Reply. Further, the government’s offer of refund that is

the basis for the government’s motion to dismiss was made one week after the

deadline for amending pleadings.

         For these reasons, good cause exists to modify the scheduling order.




                                    4
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 4 of 8 PageID #: 679
   II.      Justice Requires the Jarretts Be Afforded the Opportunity to
            Amend Their Complaint.

         Once a responsive pleading is filed, a party may only amend its pleading with

the opposing party’s consent or the court’s leave. Fed. R. Civ. P. 15(a)(2). A court

should freely give leave to amend when justice so requires. Id. In determining

whether to grant such leave, a court should consider a number of factors, including

the delay in filing, the lack of notice to the opposing party, bad faith by the moving

party, repeated failure to cure deficiencies by previous amendments, undue

prejudice to the opposing party, and futility of amendment. Perkins v. Am. Elec.

Power Fuel Supply, Inc., 246 F.3d 593, 605 (6th Cir. 2001).

         For the reasons stated in Part I above, justice requires that the Jarretts be

granted leave to amend, and the factors cited in Perkins amply support the Jarretts.

         Further, amendment would not be futile here. “Amendment of a complaint is

futile when the proposed amendment would not permit the complaint to survive a

motion to dismiss.” Miller v. Calhoun County, 408 F.3d 803, 817 (6th Cir. 2005)

(citing Neighborhood Dev. Corp. v. Advisory Council on Historic Pres., 632 F.2d 21,

23 (6th Cir. 1980)). Because the government, in its Reply, supported its motion to

dismiss by alleging deficiencies in the Jarretts’ Complaint, justice requires that the

Jarretts be afforded the opportunity to amend their Complaint to correct such

alleged deficiencies. See Opposition, at 18-21.




                                    5
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 5 of 8 PageID #: 680
   III.   This Court May Grant Injunctive and Forward-Looking Relief
          Under FRCP 54.


      An amendment could not possibly prejudice the government because, with or

without the amendment, the Jarretts can obtain forward-looking relief. Their

complaint already asked for declaratory judgment. See Complaint, Prayer. And

Fed. R. Civ. P. 54(c) gives this Court the ability to grant the Jarretts other relief,

including an injunction, “even if the [Jarretts have] not demanded that relief in its

pleadings.” See, e.g., United States v. Marin, 651 F.2d 24, 30-31 (1st Cir. 1981)

(affirming award of damages where parties did not specifically plead damages and

prayed for “such other and further relief as is equitable in the premises”).

      Courts have refused to award relief outside the pleadings if it would prejudice

the defendant, see Albermarle Paper Co. v. Moody, 422 U.S. 405, 424 (1975), but (as

here) where there is no prejudice, “a party should experience little difficulty in

securing a remedy other than that demanded in the pleadings so long as the party

shows a right to it.” 10 C. Wright et al., Federal Practice & Procedure (4th ed. 2014)

§ 2662. The government will not be prejudiced because it has already briefed the

Jarretts’ right to an injunction. An amendment will not change the parties’ debate

over whether the Jarretts can obtain an injunction; it will change only the

government’s argument that the Jarretts did not seek an injunction. Crediting the

government’s argument while also denying this motion would be “entirely contrary

to the spirit of the Federal Rules of Civil Procedure for decisions on the merits to be




                                    6
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 6 of 8 PageID #: 681
avoided on the basis of such mere technicalities.” Foman v. Davis, 371 U.S. 178,

181-82 (1962).



                                 CONCLUSION

      For the aforementioned reasons, the Court should grant the Jarretts’ motion

to amend the scheduling order, and grant the Jarretts’ motion to amend.




                                            Respectfully submitted,

                                            CONSOVOY MCCARTHY PLLC
                                            Cameron T. Norris
                                            Jeffrey M. Harris
                                            1600 Wilson Boulevard, Suite 700
                                            Arlington, VA 22209
                                            Telephone:    703.243.9423

                                            FENWICK & WEST LLP
                                            /s/ David L. Forst
                                            David L. Forst
                                            Sean P. McElroy
                                            Silicon Valley Center
                                            801 California Street
                                            Mountain View, CA 94041
                                            Telephone: 650.988.8500
                                            Facsimile: 650.938.5200

                                            J. Abraham Sutherland
                                            104 Prospect Street
                                            Black Mountain, NC 28711
                                            Telephone: 805.689.4577

                                            DATED:       March 28, 2022


                                            Attorneys for Plaintiffs




                                    7
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 7 of 8 PageID #: 682
                          CERTIFICATE OF SERVICE


      I hereby certify that on March 28, 2022, I electronically filed the foregoing

Motion for Oral Argument with the Clerk of Court using the CM/ECF system, which

sent notification to Defendant’s Counsel:


      Ryan O'Connor McMonagle
      Stephen S. Ho
      U.S. Department of Justice, Tax Division
      PO Box 227
      Washington, DC 20044
      Ryan.McMonagle@usdoj.gov
      Stephen.S.Ho@usdoj.gov



 Dated: March 28, 2022

                                        /s/ David L. Forst




                                    8
   Case 3:21-cv-00419 Document 55 Filed 03/28/22 Page 8 of 8 PageID #: 683
